ease 2:05-cr-20258-SHl\/l Documem 6 Filed 07/21/05 Page 1 of 2 Pa§el[)\e E D BY

 

UNITED STATES DISTRICT COURT JUL 2 1 2005
WESTERN DISTRIC'I: OF TENNESSEE Th?l"§f g;g;\“w
Western Dlvision w. o. oF rN, Mmpm
UNITED STATES OF AMERICA
-vs- Case No. 2:05cr20258-Ma
TERESA BELL

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
- The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT

- All purposes including trial and appeal

DONE and ORDERED in 167 North Main, Memphis, TN, this ZISt day of July, 2005.

r__._.
S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
lntake

TERESA BELL

This doc\.ment entered on the docket sheet fn compliance
with Flnle 55 and/or 32rb) FRCrP on "

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
ease 2:05-CR-20258 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

